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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

                             Case No.: 18-62193-CV-SMITH/VALLE

MILITA BARBARA DOLAN, on behalf of
herself and all others similarly situated,

       Plaintiffs,                                                   CLASS ACTION

vs.

JETBLUE AIRWAYS CORPORATION,

      Defendant.
____________________________________/

                         NOTICE OF DEPOSITION DESIGNATIONS

       Plaintiff Milita Barbara Dolan (“Plaintiff’), pursuant to the Court’s Scheduling Order and

Order of Referral to Mediation [D.E. 25], hereby gives notice of her deposition designations regarding

the depositions of Richard Horowitz, Ray Wenger, Michael Quiello, John Culbertson, Begench

Atayev, and Matthew Brey taken in this action.


                                                              Designation Page/Line
                     Witness:
                                                                  (Exhibit Nos.)
 Richard Horwitz (taken May 23, 2019)              6:23-25: 7:1-4
                                                   7:10-21
                                                   10:15-21
                                                   10:23-25
                                                   11:1
                                                   12:7-24
                                                   13:10-25:14-21
                                                   22:2-8
                                                   39:7-25
                                                   40-1-13
                                                   44:25
                                                   45:1-23
                                                   46:10-16
                                                   47:17-5:48:1-20
                                                   50:5-56:18;
                                                   57:15-20
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                                                  Designation Page/Line
                 Witness:
                                                      (Exhibit Nos.)
                                        66:25-67:9
                                        67:23-76:7
                                        76:17-86:18
                                        87:24-88:19
                                        104:14-109:16
                                        110:5-21
                                        112:16-20
                                        114:17-132:14
                                        135:21-136:4
                                        136:17-137:6
                                        138:11-139:9
                                        140:3-5
                                        145:15-149:13
                                        150:17-18
                                        152-156:19
                                        157:20-159:2
                                        161:7-162:17
                                        163:2-173:12
                                        174:6-175:2
                                        176:17-181:2
                                        185:23-197:13
                                        201:12-203:12
                                        204:2-205:14
                                        206:6-10
                                        209:6-213:21
                                        235:237:12

 Ray Wenger (taken April 2, 2019)       6:16-7:8
                                        9:10-21
                                        10:15-11:2
                                        11:7-12
                                        12:24-13:14
                                        15:16-28:10
                                        32:21-34:8
                                        35:9-37:14

 Michael Quiello (taken May 21, 2019)   7:8-8:2
                                        11:23-12:1
                                        14:6-16:3
                                        17:14-19:5
                                        22:6-10; Ex. 6
                                        24:22-25:9
                                        29:6-17
                                        30:19-36:25
                                        2
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                                                       Designation Page/Line
                 Witness:
                                                           (Exhibit Nos.)
                                             37:15-38:20
                                             39:24-45:22
                                             47:1-14
                                             47:18-48:3
                                             49:15-50:10
                                             52:9-54:14
                                             55:2-64:12
                                             67:20-21
                                             68:4-72:4
                                             73:2-84:25
                                             97:22-102:5
                                             112:21-114:2
                                             117:12-25
                                             125:8-136:22
                                             138:7-166:24
                                             167:23-170:25
                                             213:5-220:17
                                             221:8-222:9
                                             224:21-227:11
                                             228:20-253:21

 John Culbertson (taken December 18, 2018)   6:23-7:1
                                             14:5-15:2
                                             16:23-17:17
                                             18:4-20
                                             19:5-14
                                             20:18-25
                                             26:15-30:11
                                             48:20-50:1
                                             50:8-51:15
                                             56:2-58:1
                                             62:9-14
                                             67:8-78:10
                                             90:5-91:16
                                             98:4-101:5
                                             130:12-133:8
                                             7:8-8:2
                                             11:23-12:1
                                             14:6-16:3
                                             17:14-19:5
                                             22:6-10; Ex. 6
                                             24:22-25:9
                                             29:6-17
                                             30:19-36:25
                                             3
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                                                  Designation Page/Line
                 Witness:
                                                      (Exhibit Nos.)
                                         37:15-38:20
                                         39:24-45:22
                                         47:1-14
                                         47:18-48:3
                                         49:15-50:10
                                         52:9-54:14
                                         55:2-64:12
                                         67:20-21
                                         68:4-72:4
                                         73:2-84:25
                                         97:22-102:5
                                         112:21-114:2
                                         117:12-25
                                         125:8-136:22
                                         138:7-166:24
                                         167:23-170:25
                                         213:5-220:17
                                         221:8-222:9
                                         224:21-227:11
                                         228:20-253:21

 Begench Atayev (taken August 1, 2019)   15:9-50:4
                                         51:3-56:12
                                         57:20-65:18
                                         66:2-71:14
                                         72:2-19
                                         72:24-76:2
                                         76:5-25
                                         77:4-80:4
                                         83:22-96:3
                                         96:6-97:4
                                         97:14-105:11
                                         105:16-107:7
                                         108:14-111:10
                                         121:2-122:21
                                         123:2-125:16
                                         132:8-134:2
                                         145:11-148:2
                                         154:4-155:7
                                         155:15-156:17
                                         156:24-158:23
                                         160:8-165:10
                                         165:20-167:5
                                         167:12-171:7
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                                                 Designation Page/Line
                 Witness:
                                                     (Exhibit Nos.)
                                        173:6-176:14

 Matthew Brey (taken July 17, 2019)     9:19-25
                                        10:4-12:5
                                        12:12-21:2
                                        21:7-23:15
                                        23:19-24:8
                                        24:23-26:18
                                        27:14-31:18
                                        31:20-24
                                        32:18-34:21
                                        35:11-36:13
                                        36:19-50:16
                                        55:22-59:25
                                        60:21-61:14
                                        62:16-64:21
                                        65:22-68:21
                                        69:16-84:12
                                        84:19-85:3
                                        85:10-14
                                        86:1-102:12
                                        104:17-110:22
                                        111:3-116:4
                                        117:4-123:8
                                        123:13-124:12
                                        124:15-131:15
                                        131:18-143:9
                                        143:12-149:25
                                        150:3-162:5
                                        162:17-168:4
                                        170:11-173:1
                                        173:7-180:20
                                        181:19-183:15




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 Dated: November 22, 2019           Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on November 22, 2019, a true and correct copy of the foregoing

was served by electronic mail to all counsel of record.


                                             /s/ Alec H. Schultz
                                               Alec H. Schultz




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